Case 2:05-cV-02242-.]DB-tmp Document 11 Filed 06/21/05 Page 1 of 2 Page|D 17

UNITED sTA TES DISTRICT COURT '“' ' ~ ~‘ - v
WESTERN DISTRICT 0F TENNESSEE_; JUH 2| m 5= 15

 

WESTERNDIVISIoN L, m mw
`c`:`f__i-;|`\ 1__`;`.'3. met cr.
. t ;:'~ '~ , PHls
TONY X. CARRUTHERS, JUDGMENT IN A CIVIL CASE
Plaintiff,
v.
WARDEN DAVID MILLS, et al., CASE NO: 05-2242-B
Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Of Dismissal
entered on June 20, 2005, this cause is hereby dismissed without prejudice.

 

Ti-UAASM.GOLLD

Clerk of Court

 

(By) puty Clerk

This document entered on the docket sheet B:ompilance
with Flu!e 58 and/or ?Q(a) FRCP on ' '

//

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:05-CV-02242 Was distributed by faX, rnail, or direct printing on
June 22, 2005 to the parties listed.

 

 

Tony Von Carruthers

WEST TENNESSEE STATE PRISON
139604

480 Green Chapel Road Rt 2

P.O. Box l 150

Henning, TN 38041

Honorable J. Breen
US DISTRICT COURT

